           Case 7:16-cv-06714-VB           Document 1   Filed 08/25/16    Page 1 of 4




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(914) 949-2700
Attorneys for Defendants

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~x

In the Matter of the Application of
                                                              Case No.:
MICHAEL SULLIVAN,
                                                              NOTICE OF REMOVAL
                              Petitioner/Plaintiff,

For a Judgment Pursuant to CPLR Article 78 and for a
Declaratory Judgment and other relief

               - against -

GEORGE HOEHMANN, Individually and as Town
Supervisor of the Town of Clarkstown, Councilman FRANK
BORELLI, Individually and as a Member of the Clarkstown
Town Board, Councilwoman STEPHANIE HAUSER, as a
Member of the Clarkstown Town Board, Councilman JOHN
J. NOTO, Individually and as a Member of the Clarkstown
Town Board, Councilwoman ADRIENNE D. CAREY,
Individually and as a Member of the Clarkstown Town
Board, the TOWN OF CLARKSTOWN and the TOWN
BOARD OF THE TOWN OF CLARKSTOWN,

                              Respondents/Defendants.
~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~x




       Respondents/Defendants GEORGE HOEHMANN, Individually and as Town Supervisor

of the Town of Clarkstown» Councilman FRANK BORELLI, Individually and as a Member of

the Clarkstown Town Board, Councilwoman STEPHANIE HAUSER, as a Member of the

Clarkstown Town Board, Councilman JOHN J. NOTO, Individually and as a Member of the

Clarkstown Town Board, Councilwoman ADRIENNE D. CAREY, Individually and as a
             Case 7:16-cv-06714-VB         Document 1       Filed 08/25/16     Page 2 of 4



Member of the Clarkstown Town Board, the TOWN OF CLARKSTOWN and the TOWN

BOARD OF THE TOWN OF CLARKSTOWN (collectively, "Defendants"), by their

undersigned attorneys, William P. Harrington, Esq., Bleakley Platt & Schmidt, LLP, hereby

remove this action from the Supreme Court of the State of New York, County of Rockland, to

the United States District Court for the Southern District of New York on the following grounds:

       1.       On August 23, 2016, a civil action captioned: In re MICHAEL SULLIVAN v.

GEORGE HOEHMANN, Individually and as Town Supervisor of the Town of Clarkstown,

Councilman FRANK BORELLL Individually and as a Member of the Clarkstown Town Board,

Councilwoman STEPHANIE HA USER, as a Member of the Clarkstown Town Board,

Councilman JOHN J NOTO, Individually and as a Member of the Clarkstown Town Board,

Councilwoman ADRIENNE D. CAREY, Individually and as a Member of the Clarkstown Town

Board, the TOWN OF CLARKSTOWN and the TOWN BOARD OF THE TOWN OF

CLARKSTOWN, Index No. 2016-1260 (hereinafter "State Court Action") was filed and is now

pending in the Supreme Court of the State of New York, County of Rockland, a state court

embraced within this judicial district. A copy of the Summons and Verified Petition received by

Defendants herein in connection with Plaintiff's filing is annexed hereto as Exhibit "A".

       2.       In addition, the Defendants have received copies of the following pleadings filed

with the New York Supreme Court:

             a. Order to Show Cause, Verified Petition, Supporting Affidavits and Exhibits,
                which are annexed hereto as Exhibit "B"; and

             b. Request for Judicial Intervention, which is annexed hereto as Exhibit "C".

        3.      Defendants were served with the Summons and Verified Petition on August 23,

2016. Accordingly, this Notice of Removal is timely.




                                                  2
            Case 7:16-cv-06714-VB           Document 1      Filed 08/25/16     Page 3 of 4



       4.      This action is a civil action of which this Court has original jurisdiction under 28

U.S.C. §§1331 & 1367, and is one which may be removed to this Court by defendants pursuant

to the provisions of28 U.S.C. §1441(a) & (c) in that:

            a. Plaintiffs Eighth Cause of Action for alleged retaliatory personnel action by
               public employer alleges a "violation of federal law including the First, Fifth and
               Fourteenth Amendments to the Federal Constitution;

            b. Plaintiffs Twelfth Cause of Action is pursuant to 42 U.S.C. §1983 and alleges
               purported "retaliation for and causally connected to the exercise of petitioner's
               First Amendment rights";

            c. Plaintiff seeks an award of "compensatory and exemplary damages, reasonable
               costs and expenses and attorney's fees pursuant to ... 42 U.S.C. §§1983 & 1988;
               and

            d. The remainder of Plaintiffs claims, to the extent they do not arise under federal
               law, are so related to federal claims in the action that they form part of the same
               case or controversy in that all causes of action arise out of the same transactions
               or occurrences.

       5.      All Defendants are represented by the undersigned and join in this Notice of

Removal.

       6.      There are no other parties who need to consent to the removal of this action.

       7.      Pursuant to 28 U.S.C. §1446(d), Defendants will file a copy of this Notice of

Removal with the Supreme Court of the State of New York, County of Rockland, promptly after

filing of this Notice of Removal in this Court, and will give written notice of this Notice of

Removal to Plaintiff. A copy of the same is annexed hereto as Exhibit "D", and a Certificate of

Service is annexed hereto as Exhibit "E".




                                                 3
             Case 7:16-cv-06714-VB       Document 1    Filed 08/25/16   Page 4 of 4




         WHEREFORE, Defendants respectfully provide Notice of Removal of the above

entitled action to this Court.

Dated:          White Plains, New York
                August 25, 2016

                                          BLEAKLEY PLATT & SCHMIDT, LLP
                                          Attorney Jo
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